C<'J\S€ 2. 97- --Cr 20061- SHI\/| Document 29 Filed 06/20/ 1
IN THE UNITED sTATEs DISTRICT Ocoij§“ie Ol 2 PaQe'D 30

FoR THE WESTERN DISTRICT oF TENNEssEE `_ DL._
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v. l v
BILLY T. SEVERENCE No. 97cr20061_M1

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The defendant, by and through his appointed counsel Clifton T. Harviel has this
day notified the Court that the defendant, upon oral order of the court, is to be transferred
to a suitable hospital or facility selected by the Court of pretrial examination pursuant to
18 U.S.C. § 4241 to determine defendant’s mental competency to stand trial, and had asked
the Court to set the matter for a competency hearing The arraignment shall be continued
While defendant’s competency is pending and that the ends of justice served by such a
continuance outweigh the best interest of the public and the defendant in a speedy trial.

lt is therefore ORDERED that pursuant t018 U.S.C. §3161(h)(1)(A) the time period

of _r(A///7////$_ through ?//¢//Q§ be excluded from the

time its imposed by the Speedy Trial Act for trial of this case.

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This & day of d w M _, 2005.

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UNITED STATES MAGISTRATE ]UDGE

This document entered on the docket sheet in co |iance
with Rule 55 and/or 32(b) Fach on le 121 'OS 02?

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:97-CR-2006l Was distributed by faX, mail, or direct printing on
June 2l , 2005 to the parties listed.

 

Harviel T Clifton
Harviel LaW Office
50 North Front Street
Suite 850

l\/lemphis7 TN 38103

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

